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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District
                                             __________         of of
                                                         District  Wisconsin
                                                                      __________


   U.S. SECURITIES & EXCHANGE COMMISSION                       )
                             Plaintiff                         )
                                v.                             )      Case No.     19-cv-809
  BLUEPOINT INVESTMENT COUNSEL, LLC, et al.                    )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          UNITED STATES SECURITIES AND EXCHANGE COMMISSION, Plaintiff                                                  .


Date:          09/30/2019                                                               /s/ Doressia L. Hutton
                                                                                          Attorney’s signature


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